                  Case:
ILND 450 (Rev. 10/13)     3:17-cv-50069
                      Judgment in a Civil Action   Document #: 4 Filed: 03/06/17 Page 1 of 1 PageID #:32

                                       IN THE UNITED STATES DISTRICT COURT
                                                     FOR THE
                                          NORTHERN DISTRICT OF ILLINOIS

United States of America,

Plaintiff(s),
                                                                   Case No. 17 C 50069
v.                                                                 Judge Frederick J. Kapala

James Malone,

Defendant(s).

                                                    JUDGMENT IN A CIVIL CASE

Judgment is hereby entered (check appropriate box):

                   in favor of plaintiff(s)
                   and against defendant(s)
                   in the amount of $       ,

                             which         includes       pre–judgment interest.
                                           does not include pre–judgment interest.

         Post-judgment interest accrues on that amount at the rate provided by law from the date of this judgment.

         Plaintiff(s) shall recover costs from defendant(s).


                   in favor of defendant(s)
                   and against plaintiff(s)
.
         Defendant(s) shall recover costs from plaintiff(s).


               other: James Malone's second or successive motion pursuant to § 2255 is denied pursuant to
Rule 4 of the Rules Governming Section 2255 Motions in the District Courts.

This action was (check one):

     tried by a jury with Judge     presiding, and the jury has rendered a verdict.
     tried by Judge     without a jury and the above decision was reached.
     decided by Judge Frederick J. Kapala on a motion pursuant to § 2255.



Date: 3/6/2017
                                                               Thomas G. Bruton, Clerk of Court
                                                               /S/ Susan Bennehoff, Deputy Clerk
